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    July 31, 2024

    Honorable Michael A. Shipp, U.S.D.J.
    United States District Court
    Clarkson S. Fisher Building & US Courthouse
    402 East State Street
    Trenton, NJ 08608

    Honorable Rukhsanah L. Singh, U.S.M.J
    United States District Court
    Clarkson S. Fisher Building & US Courthouse
    402 East State Street
    Trenton, NJ 08608

              Re:       Johnson & Johnson Talcum Powder Products, Marketing, Sales
                        Practices and Products Liability Litigation
                        Case No.: 3:16-md-02738-MAS-RLS

    Dear Judge Shipp and Judge Singh:

            We write on behalf of the Plaintiffs’ Steering Committee (PSC) to seek the
    Court’s guidance regarding deadlines impacting dispositive motions and case(s) to
    be identified for bellwether purposes. The Court’s Order of April 30, 2024 (ECF No.
    32123) set out the following in paragraph 8: “In accord with this Court’s March 27,
    2024 text order (ECF No. 31080), dispositive motions, including Daubert motions,
    shall be filed by July 23, 2024.” The Court made clear that it would not entertain
    any requests for an extension of the current briefing deadlines. See ECF No. 32123,
    at n 1.

          In contravention of the Court’s order, on July 16, 2024, the Johnson &
    Johnson Defendants requested an extension of time to file dispositive motions. The
    Court has not ruled on that request. The Johnson & Johnson Defendants did not file
    dispositive motions prior to the expiration of the deadline.
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                                                                  Hon. Michael A. Shipp, U.S.D.J.
                                                                 Hon. Rukhsanah L. Singh, U.S.M.
                                                                                    July 31, 2024
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          It is the PSC’s position that the deadline has now passed, and the Johnson &
    Johnson Defendants have waived the opportunity to file dispositive motions.

           We write to seek direction from the Court, however, for the important reason
    that Plaintiffs are required under the scheduling order to “identify the case or cases
    to be consolidated for trial by August 5, 2024.” See ECF No. 32123, at ¶ 11.
    Provided dispositive motions will not be allowed, Plaintiffs are ready to proceed
    with identifying the case or cases to be consolidated for the first trial in this MDL in
    compliance with the Court’s order. However, if the Court contemplates allowing
    the Johnson & Johnson Defendants to file dispositive motions in the future, the PSC
    seeks leave to identify the case or cases to be consolidated for trial shortly after
    dispositive motions are filed. The PSC needs to understand the legal challenges that
    will be made by Defendants (other than those contained in Defendants’ Daubert
    motions) in order to effectively evaluate the strengths and weaknesses of the
    bellwether cases.
           Thank you for your consideration of this matter.

                                       Respectfully submitted,

                 /s/ P. Leigh O'Dell                      /s/ Michelle A. Parfitt

                 P. Leigh O'Dell                          Michelle A. Parfitt


    cc:   Susan Sharko, Esq. (via email)
